 @             Case 4:19-cv-03617 Document 1 Filed on 09/16/19 in TXSD Page 1 of 13
AO 243(Rev.01/15)                                                                                                 Page2
                    M OTION UNDER 28U.S.C.j2255TO VACATE,S T ASD E,OR CORRECT
                                SEN TENCE BY A PERSON IN FEDE              L CUSTODY
U nited StatesDistrictCourt                            District   south rnDistrictofTexas(Houston)
Name (underwkickyouwgrcconvicted):                                                      DocketorCase No.:
  Pedro Herrera-Alvarado                                                                 4:15-cr-00044-3
Place ofConfm em ent:                                               risonerN o.:
 USP Beaumont,P.O.Box 26030 Beaumont,TX 77720                       80000-379
UNITED STATES OF AM ERICA                                        M o ant(includenameunderw/lfcâconvicted)
                                          V'              PEDRO HER ERA- ALVARADO              Unitadstatescourts
                                                                                                     F IL E D
                                                      MOTION                                     Sc?
                                                                                                  r 1b 7t
                                                                                                        )10 -

     1. (a)Nameandlocationofcourtwllichenteredthejudgmentofcon ictionyouarechallenghg:
                                                                                            DavidJ.Bratley,ClerkofCuurt
          Uni
            ted States DistrictCoud
          Southern DistrictofTexas
          Houston Division

         (b)Criminaldocketorcasenmuber(ifyouknow)! 4:15-cr-0004 -3
     2. (a)Dateofthejudgmentofconviction(ifyoul(nowl: 3/6/2017
        (b)Dateofsentencing: 3/3/2017
     3. Length ofsentence: Life

     4. Natureofcrime(a11cotmts):
        Ctsls& 3s:Conspiracyto PossesWithIntenttoDistribute Heroi,inviolationof21U.S.C.j846,      .
        Cts2s& 9s:PossessionW i thIntenttoDi stribute Heroin,in violatinof21U.S.C.j 841(a)(1),(b)(1)(A),
                                                                                                       'and
        Ct5s:ConspiracytoPossesW i  thIntenttoDi  stributeCocaine,in iolation of21 U.S.C.j846.




     5. (a)Whatwasyotlrplea? (Checkone)
            (1)Notguilty -              (2) Guilty            e              (3)Nolocontendere(nocontest)           i
         (b)Ifyouenteredagtziltypleatoonecountorindictment,andan tguiltypleatoanothercotmtor
         whatdid you plead guilty to an.
                                       d whatdid you plead notguilty to?
          Guilty on Counts ls ofthe Superseding Indictment.




     6 Ifyouwenttotrial,whatkindoftrialdidyouhave? (Checkone)                      Jury V        Judgeonly
     7. Did you testify atapretrialhearing,trial,orpost-trialhealing?       Y es                 No e

     8 Didyouappealfrom thejudgmentofconviction?               Yes V l             No   .
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   9. Ifyou did appeal,answ erthefollow ing:
        (a)Nsmeofcourt: UnitedStatesCourtofAppealsfortheFifth ircuit
        (b)Docketorcasenumber(ifyouknowl: No.17-20171
        (c)Result: Dismissed
        (d)Dateofresult(ifyoulmowl: 6/20/2018
        (e)Citationtothecmse(ifyoultnowl: USAv.PedroHerrera-Al rado,No.17-20171(5thCir.2018)
        (9 Groundsraised:
         Herrera-Alvarado contendsthattheDistrictCoud failedto:(1)ens rethathe upderstoodthe natureofthe
         charge;(2)complywithFederalRuleofCriminalProcedure 11at November20,2015 re-arraignment,which
         renderedhisguiltyplea invalid'
                                      ,and (3)determinethatheunderstodthetermsofhi   sappealwaiver.




         (g)DidyoufileapetitionforcertiorariintheUnitedStatesSupre eCourt?        Yes              No 7
             lf$$Y es1''answerthe following:
             (1)Docketorcasenmnber(ifyouknowl:
             (2)Result:

             (3)Dateofresult(ifyoul(nowl:
             (4)Citationtothecase(ifyouknow):
             (5)Groundsraised:




   10. Otherthan thedirectappealslisted above,haveyou previously 51 d any otherm otions,petitions,orapplications,
         concemin thisjud entofconvictioninanycourt?
          Yes )  ' No F      -




   11. IfyouranswertoQuestion 10wasttY es,''givethefollowinginfo ation:
       (a) (1)Nameofcourt:
           (2)Docketorcasenumber(ifyou% owl:
           (3)Dateoffiling(ifyouknowl:

           (4) Natureoftheproceeding:
           (5) Groundsraised:
                  Case 4:19-cv-03617 Document 1 Filed on 09/16/19 in TXSD
                                                     .
                                                                        * Page 3 of 13
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                                '                                                                             Page4




               (6) Didyoureceiveahearingwhereevidencewasgivenony ttrmotion,petition,orapplication?
                         Y es       No
              (7) Result:                                         '
              (8) Dateofresult(ifyouknow):
           (b)lfyoufiledanysecondmotion,petition,orapplication,giveth sameinformation:
              (1) Nameofcourt:                                                                       '
              (2) Docketofcasenumber(ifyouknow):
              (3) Dateoffling(ifyouknowl:
              (4) Natureoftheproceeding:
              (5) Groundsraised:




              (6) Didyoureceiveahearingwhereevidencewasgivepony tlrmotion,petition,orapplication?
                     Yes          No 1
              (7) Result:
.
              (8) Dateofresult(ifyouknowl:
           (c)Didyouappealtoafederalappellatecout'thavingjurisdiction vertheactiontakenonyourmotion,petition,
           orapplication?
               (1) Firstpetition:      Yes           No ..:
               (2) Secondpetition:     Yes .         No
           (d) lfyou didnotappeal9om theaction on anymotion,petition,o application,explainbrieflywhy you didnot:
           N/A




     12. Forthismotion,stte every ground on which you claim thatyou ar being held in violation oftheConstitution,
         laws,ortreatiesoftheU nited States.A ttach additionalpagesifyo have m orethan fourgrounds. Statethe fact.s
         supporting each ground.
              Case 4:19-cv-03617 Document 1 Filed on 09/16/19 in TXSD Page 4 of 13
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GROUND ONE: Ineffective Assistance ofPretrialCounsel


       (a)Supportingfacts(Donotargueorcitelaw.Juststatethesjecif factsthatsupportyourclakml:
       PretrialCounselFailed to:
       (1)Communicatewi
                      thHerrera-Alvaradoand inform him ofthe telev ntcircumstancesand Iikelyconsequencesof
       pleading guilty as opposed to proceeding to trial;
       (2)File anysubstanti
                          vepretrialmotions'
                                           ,
       (3)Conductanadequateandindependentpretrialinvestigation'
                                                              ,an
       (4)AttempttonegotiateafavorablePleaAgreementdeprived Herr ra-Alvaradoofeffectiveassistanceofpretrial
       counselunderthe Sixth Amendm entofthe Constitution ofthe United States.

       Please see Memorandum oflaw in Support.




       (b)DirectAppealofGroundOne:
          (1) Ifyouappealedfrom thejudgmentofconviction,didyou aisethisissue?
                 Yes         No f.
          (2) lfyoudidnotraisethisissueinyourdirectappeal,explai why:
           Claims ofinelective assistance ofcounselare notgenerally raied on directappeal.


       (c)Post-convictionProceedings:
          (1) Didyouraisethisissueinanypost-convictionmotion,pettion,orapplication?
                   Yes            No e
           (2) lfyouanswertoQuestion(c)(1)isçEYes,''state:
           Type ofmotion orpetition: N/A
                                                                  !      '
           N am eand location ofthe courtwherethe m otion orpetition w       sled:


           Docketorcasenumber(ifyouknow);
           D ate ofthecourt'sdecision:
           Result(attachacopyofthecourt'sopinionororder,ifavâilabl):


           (3) Didyou receiveahearing onyourmotion,petition,orap ication?
                   Yes .          No     '
           (4) Didyouappealfrom thedenialofyourmotion,petition,o application?
                   Y es           No
           (5) lfyouranswertoQuestion (c)(4)isççYes,''didyouraiset eissueintheappeal?
                   Yes            No     !
               Case 4:19-cv-03617 Document 1 Filed on 09/16/19 in TXSD Page 5 of 13
AO 243(Rev.01/15)                                                                                         Page6
            (6) lfyouranswertoQuestion(c)(4)isççYes,''state:
            N am eand locadon ofthe courtwherethe appealw aslled:


            Docketorcasenumber(ifyouknowl:
            Dateofthe court'sdecision:
            Result(attachacopyofthecourt'sopinionororder,ifavailabl):


            (7) lfyotlranswertoQuestion(c)(4)orQuestion(c)(5)isdWo''explainwhyyoudidnotappealorraisethis
            issue:




GR OUND TW 0:         lneiective Assistance ofSentencing Counsel


        (a) Supportingfacts(Donotargueorcitelaw.Juststatethespeci cfactsthatsupportyouzclai.
                                                                                           m.l:
        Sentencing CounselFailed to:
        (1)Review,discussandexplainthe PSR to Herrera-Alvarado prioro the sentencing hearing'
                                                                                            ,
        (2)Properlyargueobjectionstothe PSR;and
        (3)Argueformi tigationofpunishmentand objectto Herrera-Alvara o'ssentencebeingsubstanti
                                                                                              vely
        unreasonable deprived Herrera-Alvarado ofeffective assistance of entencing counselunderthe Si
                                                                                                    xth
        Amendment,afairandjustsentence.

        Please see Memorandum ofIaw in Suppod.




        (b)DirectAppealofGroundTwo:
           (1) lfyouappealedfrom thejudgmentofconviction,didyou aisetllisissue?
                     Yes         No z




            (2) lfyoudidnotraisethisissueinyourdirectappeal,explai why:
            Cl
             aimsofineffective assistance ofcounselare notgenerally raied on directappeal.


        (c) Post-convlctionProceedings:
            (1) Didyouraisethisissueinanypost-convictionmotion,peition,orapplication?
                     Yes         No e
             Case 4:19-cv-03617 Document 1 Filed on 09/16/19 in TXSD Page 6 of 13
xo243mev.01/1s)                                                                                   Page7
          (2) IfyouanswertoQuestion(c)(1)isttYes,''sGte:
          Type ofm otion orpetition: N/A
          N am eandlocation ofthe courtwkerethem otion orpetition w a liled:


          Docketorcasenumber(ifyou% owl:
          Date ofthe court'sdecision:
          Result(attachacopyofthecourt'sopinion ororder,ifavailabl):



          (3) Didyoureceiveahearingonyourmotion,petition,orapp ication?
                   Y es           No
          (4) Didyouappealfrom thedenialofyourmotion,petition,o application?
                   Y es   -   y   No   - .-



          (5) IfyotlranswertoQuestion(c)(4)isçtYes,''didyouraiset eissueintheappeal?
                   Yes        !   No
          (6) IfyottranswertoQuestion(c)(4)isçtYes,''state:
          N am e and location ofthe courtwherethe appealw asfiled:


          Docketorcasenumber(ifyouknowl:
          D ate ofthecourt'sdecision:
          Result(attachacopy ofthecourt'sopinionororder,ifavailabl):



          (7) IfyouranswertoQuestion(c)(4)orQuestion(c)(5)is<tN ,''explainwhyyoudidnotappealorraisethis
          issue:




GROUND TH REE: N/A


       (a) Supportingfacts(Donotargueorcitelaw.Juststatethespeci cfactsthatsupportyourclaim.l:
              Case 4:19-cv-03617 Document 1 Filed on 09/16/19 in TXSD Page 7 of 13
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       (b)DirectAppealofGroundThree:                            '     '           .
                                                                                       '
                                                            .

          (1) Ifyouappealedf'
                            rom thejudgmentofconviction,didyou aisethisissue?
                   Yes              N o --
           (2) Ifyoudidnotraisethisissueinyotlrdirectappeal,explai why:



       (c)Post-convictlonProceedings:
          (1) Didyouraisethisissueinanypost-convictionmotion,pettion,orapplication?
                   Y es   - -       N o ---
           (2) IfyouanswertoQuestion(c)(1)isRYes,''state:
           Type ofmotion orpetition:                    .


           Nam eand location ofthe courtwherethe m otion orpetition wa fled:


           Docketorcasenumber(ifyouknowl:
           Date ofthecourt'sdecision:
           Result(attachacopvofthecourt'sopinionorordermifavailabl):



           (3) Didyoureceiveahearing1onyourmotion,petition,orapp ication?
                                          .
                   Yes              No    :
           (4) Didyouappealfrom thedenialofyourmotion,petition,o ap
                                                                  'plication?
                                          (
                   Y es         .   No
           (5) lfyouranswertoQuestion(c)(4)isEçYes,''didyouraise eissueilliheappeal?
                   Y es             No


           (6) IfyouranswertoQuestion(c)(4)isRYes,''state:
           N am eand location ofthe courtwherethe aooealw asfled:


           Docketorcasenumber(ifyoulœow):
           D ate ofthecourt'sdecision:
           Result(attachacopyofthecourt'sopinionororder,ifavailabl):
              Case 4:19-cv-03617 Document 1 Filed on 09/16/19 in TXSD Page 8 of 13
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           (7) IfyouranswertoQuestion(c)(4)orQuestion(c)(5)isç1
                                                              No''explainwhyyoudidnotappealorraisethis
           issue:




GROUND FOt1R : N/A


       (a) Supportingfacts(Donotai
                                 rgueorcitelaw.Juststatethespecifcfactsthatsupportyourclakml:




       (b)DirectAppealofGroundFour:
          (l) Ifyouappealedfrom thejudgmentofconviction,didyou aisethisissue?                   .
                    Yes    ë     No      I
           (2) Ifyoudidnotraisethisissueinyourdirectappeal,explai why:


       (c)Post-convictionProceedings:
          (1) Didyouraisethisissueinanypost-convictionmotion,pettion,orapplication?
                    Y es         No      ë



           (2) IfyouanswertoQuestion(c)(1)isççYes,''state:
           Typeofmotion orpetition:
           N am e and location ofthe courtwherethe m otion orpetition w '
                                                                        sfiled:


           Docketorcasenumber(ifyouknowl:
           D ate ofthecourt'sdecision:
           Result(attachacopyofthecourt'sopinionororder,ifavailabl):
                   Case 4:19-cv-03617 Document 1 Filed on 09/16/19 in TXSD Page 9 of 13
    AO243(Rev.01/15)                                                                                          Page10
                 (3) Didyoureceiveahearingonyourmotion,petition,orappication?
                          Yes         .   No   .- -   :i

                 (4) Didyouappeal9om thedenialofyourmotion,petitiön,o application?
                          Yes             No          .
                 (5) IfyouranswertoQuestion(c)(4)isçfYes,''didyouraiseth issueintheappeal?
                          Yes   . -       No          7
                 (6) IfyouranswertoQuestion(c)(4)ist1Yes,''state:
                 Nam eand location ofthecout'
                                            twhere theappealwasfiled:


                 Docketorcasenumber(ifyoul(nowl:
                 Date ofthe court'sdecision:
                 Result(attach acopyofthecourt'sopinion ororder,ifavailabl):


                 (7) IfyouranswertoQuestion(c)(4)orQuestion(c)(5)isttN ,''explainwhyyoudidnotappealorraisethis
                 issue!




     13. lsthereany ground in tMsm otion thatyou havenotpreviously pre ented in som efederalcourt? lfso,which
         p ound orgrotm dshave notbeen presented,and state yotzrreasons ornotpresenting them :
           N/A




     14. Doyouhaveanymotion,petition,orappealnow pending(filedan notdecidedyet)itlanycourtforthe
         you are challenging?  Y es          No f l   .    .


           lftY es,''statethenam eand location ofthe court,the docketorcas mlmber,the type ofproceeding,and the
           issuesraised.
'          YI%
1    *
                 Case 4:19-cv-03617 Document 1 Filed on 09/16/19
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    AO243(Rev.01/15)                                                                                          Pagel1
     15. Givethenam eand address,iflm own,ofeach attorney who represe ted you in the following stages ofthe
           you are challengz g:
          (a)Atthepreliminaryhearing:
           Mark ChristopherThering,Attorney atLaw,1601 Congress,Housto ,'
                                                                        FX 77002

          (b)Atthearraignmentandplea:
          Mark ChristopherThering,Attorney atLaw,1601 Congress,Housto ,TX 77002

          (c) Atthetrial:
          N/A

          (d)Atsentencing:                                          ,
           MarkChri
                  stopherThering,Attorney atLaw,1601 Congress,Housto ,TX 77002

          (e)0nappeal:
           James Gregory Rytting,HilderAssociates PC,819 LovettBoulevar ,Houston,TX 77006-3905

          (9 lnanypost-convictionproceeding:
           N/A

          (g)Onappeal9om anyrulingagainstyouinapost-convictionpro eedlg:
           N/A


     16. W ereyou sentenced on morethan one courtofan indictment,oron orethan oneindictment,in the sam ecourt
         and atthe sam etim e?        Y es l - .-   No 7 2

     17. Doyouhaveanyfuturesentencetoserveaqer oucompletethese enceforthejudgmentthatyouare
          challenging?           Yes    '           No #
          (a)lfso,givenameandlocationofcourtthatimposedtheothersè tenceyouwillserveinthefuture:
           N/A

          (b)Oivethedatetheothersentencewasimposed:
          (c) Givethelengthoftheothersentence: N/A
          (d)Haveyousledoordoyouplantofle,anymotion,petition,ora plicationthatchallengesthejudgmentor
          sentencetobeservedintheftltare?       Yes i      No e


     18. TIMELINESSOFM OTION:lfyourjudgmentofconvictionbeca efnaloveroneyearago,youmustexplain
         whytheone-yearstatuteoflimitationsascontainedin 28U.S.C.j 255 doesnotbaryourmotion.*
          Herrera-Alavarado hasninety(90)daysfrom June20,2019,to 5le hs,j 2255motion.Hi
                                                                                      sj 2255istimelyiffiled
          on orbefore Septem ber18,2019.
               Case 4:19-cv-03617 Document 1 Filed on 09/16/19 in TXSD Page 11 of 13
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    *TheAntiterrorism andEffectiveDeathPenaltyActof1996(CCAEDP '')ascontainedin28U.S.C.j2255,
    paragraph 6,providesin partthat:
       A one-yearperiod oflim itation shallapply to a m otion underthissed ion. Thelim ittion period shallnm
       âom the latestof-
            (1) thedateonwhichthejudgmentofconvictionbecamefmal
            (2) thedateonwhichtheimpedimenttomakingamotion'cre edbygovernmenàlactionillviolationof
            the Constitution orlawsoftheUnited Statesisremoved,ifthe ovantw asprevented 9om m aking such a
            m otion by such governm entalaction;
            (3) thedateonwhichtherightassertedwasinitiallyrecognize bythelupremeCourt,ifthatrighthas
            been newly recognized by the Suprem eCourtand m aderetroac'ively applicableto caseson collateral
            review;or
            (4) thedateonwhichthefactssupportingtheclaim orclaims resentedcouldhavebeendiscovered
            through theexerciseofdue diligence.
*
          Case 4:19-cv-03617 Document 1 Filed on 09/16/19 in TXSD Page 12 of 13



                                                                                                   Page 13
    Therefore,Herrera-AlvaradorespectfullyrequeststhattheCourtgrantthe ollowingrelief:

            Vacatehisconviction and sentenceto startanew;altenmtively,gr tanEvidentimy henrl
                                                                                           '
                                                                                           ngto furtherprove
    hisgroundssetforthabove,resolvefact.
                                       sindispute,expandanincompietercordoranyotherrelieftowhichthisCourt
    deemsthathemay beentitled.

                                                            Respectfull submitted,



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                                                            PEDRO         RA-AI,VARADO
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                                                            U .S.PEN I N TIARY
                                                            P.0 .BOX 6030
                                                            BEAIJM O T,TX 77720
                                                            Appenn'ng ro Se


                             DECLARATION OF PEDRO HERRERA- LVARADO

            1,PedroHerrera-Alvarado,declarantherein,declareand attestto efactsintheaboveandforegoingM otion
    under28U.S.C.j2255toVacate,SetAside,orCorrectSentencebyaperso inFederalCustodytobetnleandcorrect
    tothe bestofmyknowledgetmderthepenaltyofperjurypursuantto28U..C.j1746.Iplacedthisj2255Motionin
    theprisonmailboxonthedatebelow invokingtheprisonmailboxrule.See oustonv.fack,487U.S.266,270(1988).



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